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Attorneys for Defendants

United States District Court

for the
District of Alaska

UNITED STATES FOR THE USE AND )

BENEFIT OF DENNIS C. B()WEN d/b/a )
BOWEN GENERAL CONTRACTORS and ) Civil Action No. 3:13-CV-00083-SLG

DENNIS C. BOWEN d/b/a BOWEN )

GENERAL CONTRACTORS, ) STIPULATION FOR
' ) DISMISSAL WITH PREJUDICE

Plaintiffs, )

)

l vs. )

)

GRANITE PETROLEUM, INC. and FIRST )

NATIONAL INSURANCE COMPANY OF )

AMERICA, PAYMENT BOND NO. )

6719081, )

)

Defendants. )

The parties, by and through their respective attorneys, hereby stipulate and agree that all
of the claims and counter claims asserted by plaintiffs United States of American, for the Use
and Benefit of Dennis C. BoWen d/b/a Bowen General Contractors and Dennis C. BoWen d/b/a
Bowen General Contractors and by defendants Granite Petroleum, Inc. and First National
Insuranc-e Company of America and its Payment Bond No. 6719081, are hereby dismissed in

their entirety and With prejudice, each side bearing its own costs and attorney's fees.

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DATEDthiS ‘.e!\ day OfFebruary, 2016.

 

 

Atto for Defendants

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See attached
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Attorney for Plaintiffs

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DATED this day of February, 2016.

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Atto éy for Defendants ' " `
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CERTIFICATE OF SERVICE

l HEREBY CERTIFY that on the llth day of February, 2016, l electronically filed the
foregoing document With the Clerk of the Court using the CM/ECF system The CM/ECF
system Will Send notification of such filings to the following:

o John C.Pharr
` harr ci.net

s/ John C. Black

JOHN C. BLACK, ASB #8611096
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